Case 08-14631-GMB                            Doc 266             Filed 05/10/08 Entered 05/10/08 05:11:51    Desc Main
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 PPG\Shapes-Arch Holdings\motion to compel administrative expense

 THE CHARTWELL LAW OFFICES, LLP
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 Attorneys for PPG Industries, Inc.
 ___________________________________
 In re:                              : UNITED STATES BANKRUPTCY COURT
 SHAPES/ARCH HOLDINGS, LLC,          : DISTRICT OF NEW JERSEY
 et al.,                             : Chapter 11 Case Nos. 08-14631 through
                       Debtors       :   08-14635 (GMB) (jointly administered)
                                     : Hearing Date: June 9, 2008, 10:00 A.M.
 ___________________________________ : Oral Argument Requested if Opposed

    NOTICE OF MOTION TO COMPEL PAYMENT OF ADMINISTRATIVE EXPENSE
     CLAIMS PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) AND 503(b)(9),
                FILED ON BEHALF OF PPG INDUSTRIES, INC.

              PLEASE TAKE NOTICE that PPG Industries, Inc. (“PPG”), a creditor of certain of the

 above-captioned debtors and party in interest herein, by and through its attorneys, The Chartwell

 Law Offices, LLP, respectfully moves for an Order compelling payment of PPG’s administrative

 expense claims pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9), and

 D.N.J. LBR 9013-1.

              PLEASE TAKE FURTHER NOTICE that PPG shall rely upon the within Application,

 Certification of Kevin B. Stiffler, and the exhibits annexed thereto.

                                                                        THE CHARTWELL LAW OFFICES, LLP
 Dated: May 10, 2008
                                                                        By: /s/ John J. Winter
                                                                           John J. Winter, Esquire
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